Case
 Case1:25-cv-20757-JB
      1:25-cv-20757-JB Document
                        Document94-1
                                 93 Entered
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                                             onFLSD
                                                FLSDDocket
                                                     Docket06/06/2025
                                                            06/06/2025 Page
                                                                        Page11ofof44




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                            Miami Division



  JANE DOE,                                                    Case No: 1:25-cv-20757-JB/Torres

         Plaintiff,

  vs.

  STEVEN K. BONNELL II,

       Defendant.
  __________________________________/


          STIPULATION BETWEEN PLAINTIFF AND NONPARTY LOLCOW, LLC
        REGARDING LIMITED SUBMISSION TO JURISDICTION FOR PURPOSES OF
                   COMPLYING WITH PROPOSED COURT ORDER


  TO THE HONORABLE COURT:

          Plaintiff, Jane Doe, is a party to the above-captioned matter pending before this Court.

  Nonparty Lolcow, LLC (“Nonparty”) is the company which owns and manages the Kiwi Farms,

  an Internet forum available at <https://kiwifarms.st>, and is not a party to the litigation. Plaintiff

  has submitted a proposed court order titled “[Proposed] Order Granting Plaintiff’s Motion to

  Compel Lolcow, LLC to Remove Videos of Jane Doe “(the “Proposed Order”) [ECF No. 80-1]

  that requires certain compliance by Nonparty.


          WHEREAS Plaintiff has requested that Nonparty acknowledge and agree to the Court’s

  jurisdiction for the limited purpose of complying with the Proposed Order, and Nonparty has

  agreed to voluntarily submit to this limited jurisdiction under the terms stated herein;



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 Case1:25-cv-20757-JB
      1:25-cv-20757-JB Document
                        Document94-1
                                 93 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket06/06/2025
                                                            06/06/2025 Page
                                                                        Page22ofof44




                  NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

  between Plaintiff and Nonparty (together, the "Parties"), subject to this Court’s approval, as

  follows:


      I.     LIMITED SUBMISSION TO JURISDICTION


      Nonparty Lolcow, LLC expressly acknowledges and agrees to submit to the jurisdiction of this

  Court solely and exclusively for the purpose of complying with the Proposed Order attached hereto

  as Exhibit A.

      Nonparty’s submission to the jurisdiction of this Court is strictly limited in scope to the

  enforcement, compliance, and resolution of any disputes arising under the Proposed Order.

      This Stipulation does not constitute a waiver by Nonparty of any arguments relating to personal

  jurisdiction, venue objections, or other legal defenses in any unrelated matter or proceeding, nor

  does it create, establish, or imply any ongoing or general obligation to appear before this Court

  beyond the limited purposes described above. Nor will this stipulation be construed in any way

  which would imply that Lolcow, LLC is or should be joined to this action pursuant to Fed. R. Civ.

  P. 19.


      II.    SCOPE OF SUBMISSION


      Nonparty acknowledges receipt of the Proposed Order (Exhibit A) and agrees to comply fully

  with its enforceable terms, including but not limited to:


      (a) Removing the content hosted at the enumerated URLs from the Kiwi Farms website.




                                                    2
Case
 Case1:25-cv-20757-JB
      1:25-cv-20757-JB Document
                        Document94-1
                                 93 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket06/06/2025
                                                            06/06/2025 Page
                                                                        Page33ofof44




     The Parties respectfully request that this Court approve and enter this Stipulation. The Parties

  further request that this Court retain jurisdiction over the enforcement of this Stipulation and the

  Proposed Order for the duration of its application, subject to further order from this Court. This

  Stipulation is entered pursuant to and governed by Federal Rule of Civil Procedure 45 and any

  other applicable procedural rules governing nonparty compliance with court orders.

     Nonparty confirms that it has reviewed the terms of the Proposed Order and this Stipulation

  and acknowledges a reasonable understanding of its obligations; Nonparty acknowledges that it is

  entering into this Stipulation voluntarily and without coercion.




  Joshua Moon Member
  Lolcow, LLC
  Signed June 6th, 2025

         Dated: June 6, 2025.

  JSP LAW, LLC                                  SANCHEZ-MEDINA GONZALEZ QUESADA
  Joan Schlump Peters                           LAGE GOMEZ & MACHADO, LLP
  (admitted pro hac vice)                       CARLOS A. GARCIA PEREZ
  4819 W. Blvd. Ct.                             Florida Bar No. 106895
  Naples, FL 34103                              GUSTAVO D. LAGE
  Tel. 305-299-4759                             Florida Bar No. 972551
  Email: petersjoan@bellsouth.net               201 Alhambra Circle, Suite 1205
  Counsel for Plaintiff JANE DOE                Coral Gables, Florida, 33134
                                                Tel.: (305) 377-1000
                                                Primary E-Mail: cgarciaperez@smgqlaw.com
                                                Primary E-Mail: glage@smgqlaw.com
                                                Counsels for Plaintiff



                                                By:_________________________________
                                                      CARLOS A. GARCIA PEREZ
                                                      Attorney for Plaintiff


                                                   3
Case
 Case1:25-cv-20757-JB
      1:25-cv-20757-JB Document
                        Document94-1
                                 93 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket06/06/2025
                                                            06/06/2025 Page
                                                                        Page44ofof44




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 6, 2025 a true and correct copy of the foregoing was

  served on all parties via the CM/ECF filing portal to all counsel of record.




                                                By: ________________________
                                                       CARLOS A. GARCIA PEREZ
                                                       Attorney for Plaintiff




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